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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND


In re:                                              *

Yolande E Essangui                                  *      Case No. 16-12984

                Debtor
*        *      *      *      *       *      *      *      *       *      *       *

Yolande E Essangui                                  *

                Plaintiff                           *      Adv. No. 16-00201

v.                                                  *

Firstmark Services, et al.                          *

                        Defendants.                 *

*        *      *       *     *       *      *      *      *       *      *       *

     ORDER GRANTING PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

         UPON consideration of the Motion for Summary Judgment (the "Motion") filed

by Plaintiff, Yolande E Essangui, and any response in opposition thereto, and for good

cause shown, it is, by the United States Bankruptcy Court for the District of Maryland

hereby

         ORDERED, that the Motion be, and it is hereby, GRANTED; and it is further
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       ORDERED, that any obligations by Plaintiff Yolande E Essangui to Defendant

GS2 Grantor Trust 2016-A, Assignee of SLF V-2015 Trust be, and they are hereby,

subject to and discharged by the Discharge Order entered in this bankruptcy case on June

14, 2016 [Dkt. No. 16].



                                     End of Order

Cc:

Ronald J. Drescher
Drescher & Associates, P.A.
4 Reservoir Circle
Suite 107
Baltimore, MD 21208

Michael J. Klima, Jr.
Peroutka, Miller, Klima & Peters, P.A.
8028 Ritchie Highway, Suite 300
Pasadena, MD 21122
